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THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

KARELIZ NIN

Plaintiff, :

V. : 3:17-CV-802
(JUDGE MARIANI)

LUZERNE COUNTY and
LUZERNE COUNTY CHILDREN
AND YOUTH SERVICES

Defendants.

ORDER

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AND NOW, THIS of DAY OF OCTOBER 2020, upon consideration of

Defendants’ Motion to Dismiss Plaintiffs Third Amended Complaint (Doc. 67) and all
relevant documents, for the reasons set out in the simultaneously filed Memorandum
Opinion, IT IS HEREBY ORDERED THAT:

1. Defendants’ Motion to Dismiss Plaintiffs Third Amended Complaint (Doc. 67) is
GRANTED IN PART and DENIED IN PART;

2. The Motion is GRANTED in that Plaintiffs claim for procedural due process, her
claim for substantive due process based on deprivation of the right to confidentiality
in disclosed records, and her claim for substantive due process based on deprivation
of the right to familial integrity for the initial removal of her children from her custody

are DISMISSED WITH PREJUDICE;
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3. The Motion to Dismiss is DENIED as to Plaintiffs substantive due process claim
based on deprivation of the right to familial integrity for the post-removal period of

dependency.

  

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Robert D. Marian’
United States District Judge

 
